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                        Exhibit 2
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN
 SHUMATBRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                              Plaintiffs,

                              v.

 BROWN UNIVERSITY, CALIFORNIA
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                      Case No.: 1:22-cv-00125
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
                                      Hon. Matthew F. Kennelly
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAM
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                              Defendants.


DECLARATION OF GRAHAM D. PENNY REGARDING NOTICE PURSUANT TO
                CLASS ACTION FAIRNESS ACT OF 2005

I, Graham D. Penny, declare as follows:

       1.     I am an Assistant Director of JND Legal Administration, LLC (“JND”). JND is a

legal administration services provider with its headquarters located in Seattle, Washington. This
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Declaration is based on my personal knowledge as well as upon information provided to me by

experienced JND employees.

       2.      JND was asked by Counsel for the University of Chicago to effect notice of the

proposed Settlement in the above-captioned action pursuant to the Class Action Fairness Act of

2005, 28 U.S.C. § 1715 (“CAFA”). On August 21, 2023, JND duly sent by Federal Express or

U.S. Mail notice of the settlement in the action to the United States Attorney General and to the

appropriate State officials. An example CAFA notice and list of recipients is attached hereto as

Exhibit A.

       3.      JND subsequently confirmed that all of the notices had been delivered. Copies of

the delivery reports are attached hereto as Exhibit B. As of the date of this Declaration, JND has

not received any inquiries or objections from any State or Federal officials.



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on August 31, 2023, at Totowa, New Jersey.




                                        BY:
                                              GRAHAM D. PENNY
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                      Exhibit A
  Case: 1:22-cv-00125 Document #: 703-4 Filed: 05/28/24 Page 5 of 27 PageID #:15900



                                                                      James L. Cooper
                                                                      +1 202.942.5014 Direct
                                                                      James.Cooper@arnoldporter.com




                                                     August 21, 2023


     VIA FEDEX OR USPS

     United States Attorney General
     And Other Attorneys General and Officials
     Identified in Exhibit A

             Re:     CAFA Notice of Proposed Settlement, Henry et al. v. Brown University
                     et al., No. 1:22-cv-00125 (N.D. Ill.)

     Dear Sir/Madam:

            Pursuant to the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715(b), the
     University of Chicago (“UChicago”) hereby serves notice of a proposed settlement in
     Henry et al. v. Brown University et al., No. 1:22-cv-00125 (the “Action”) pending in the
     United States District Court for the Northern District of Illinois (the “Court”).

             A motion for preliminary approval of the proposed settlement in the Action was
     filed with the Court on August 14, 2023. In compliance with the requirements set forth in
     CAFA, UChicago encloses a CD containing copies of the following documents related to
     the Action:

         1. The original class action complaint filed by individual named plaintiffs in the
            Action on January 9, 2022;

         2. The first amended class action complaint filed by individual named plaintiffs in the
            Action on February 15, 2022;

         3. The second amended class action complaint filed by individual named plaintiffs in
            the Action on February 15, 2022;

         4. Plaintiffs’ Unopposed Motion for Preliminary Approval of Settlement, Provisional
            Certification of Proposed Settlement Class, Approval of Notice Plan, and Approval
            of the Proposed Schedule for Completing the Settlement Process, including the
            Settlement Agreement, executed August 7, 2023, which is attachment #3 to the
            motion and includes an Escrow Agreement; and proposed Summary and Long

Arnold & Porter Kaye Scholer LLP
601 Massachusetts Ave, NW | Washington, DC 20001-3743 | www.arnoldporter.com
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           Form notices as attachments #9 and #10 to the motion (collectively, “Motion for
           Preliminary Approval”).

  An index of the above exhibits is attached hereto as Exhibit B.

          It is not feasible to identify the names of putative class members who reside in each
  state, district, or territory, or to estimate the proportionate share of the claims of such
  members to the entire settlement. The proposed settlement class includes approximately
  two decades of current and former undergraduate students who attended 17 different
  universities, were U.S. citizens or permanent residents, and received certain need-based
  financial aid, with exclusions based on, among other things, the amount of financial aid
  received. The class definition is as follows:

           All U.S. citizens or permanent residents who have during the Class Period
           (a) enrolled in one or more of Defendants' full-time undergraduate
           programs, and (b) received at least some need-based financial aid from one
           or more Defendants, and (c) directly purchased from one or more
           Defendants tuition, fees, room, or board that was not fully covered by the
           combination of any types of financial aid or merit aid (not including loans)
           in any undergraduate year.1

           The Class Period is defined as follows:

              i.    For UChicago, Columbia, Cornell, Duke, Georgetown, MIT,
                    Northwestern, Notre Dame, Penn, Rice, Vanderbilt, Yale—
                    from 2003 through the date the Court enters an order
                    preliminarily approving the Settlement.

             ii.    For Brown, Dartmouth, Emory—from 2004 through the date
                    the Court enters an order preliminarily approving the
                    Settlement.

            iii.    For CalTech—from 2019 through the date of the Court
                    enters an order preliminarily approving the Settlement.


  1
    For avoidance of doubt, the Class does not include purchasers for whom the total cost they were charged
  by the Defendant or Defendants whose institution(s) they attended, including tuition, fees, room, or board for
  each undergraduate academic year, was covered by any form of financial aid or merit aid (not including
  loans) from one or more Defendants.
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           iv.    For Johns Hopkins—from 2021 to the date the Court enters
                  an order preliminarily approving the Settlement.

          Excluded from the Class are:

            i.    Any Officers and/or Trustees of Defendants, or any current
                  or former employees holding any of the following positions:
                  Assistant or Associate Vice Presidents or Vice Provosts,
                  Executive Directors, or Directors of Defendants’ Financial
                  Aid and Admissions offices, or any Deans or Vice Deans, or
                  any employees in Defendants in-house legal offices; and

           ii.    the Judge presiding over this action, his or her law clerks,
                  spouse, and any person within the third degree of
                  relationship living in the Judge's household and the spouse
                  of such a person.

           Plaintiffs estimate that the settlement class includes approximately 200,000 U.S.
  citizens and permanent residents. Based on that estimated class size and census data related
  to each state, district, or territory’s population over age of 25 that has a bachelor’s degree,
  Exhibit C estimates the number of putative class members who reside in each state, district
  or territory, and the estimated proportionate share of the claims of such members to the
  entire settlement. Each class member would receive a share of the proposed settlement in
  accordance with the proposed plan of allocation described in Plaintiffs’ memorandum in
  support of their Motion for Preliminary Approval and Exhibit D to the Motion for
  Preliminary Approval.

          As of the date of this letter:

     i.   There are no other agreements between Class Counsel and counsel for UChicago
          beyond those set forth in the Settlement Agreement and Escrow Agreement.

    ii.   UChicago is not aware of any other settlement agreements made between Class
          Counsel and counsel for other defendants.

   iii.   The next status hearing for this matter is scheduled for August 24, 2023, at 1:00 pm
          CDT. Any party wishing to speak at that hearing must appear in person. The Court
          has indicated a plan to hold in-person status hearings every six weeks thereafter,
          which have not yet been scheduled.
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   iv.   The Court has not issued any written judicial opinion or order relating to the
         settlement agreement, proposed notice, or Motion for Preliminary Approval.

    v.   The Court has not ordered any final judgment or notice of dismissal.



                                              Sincerely,



                                              /s/ James L. Cooper


  Enclosures as stated
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                                        Exhibit A

                             CAFA Notice Distribution List

     1. Merrick Garland
        Office of the U.S. Attorney General
        U.S. Department of Justice
        950 Pennsylvania Ave NW
        Washington, DC 20530-0001

     2. Treg R. Taylor
        Office of the Attorney General, State of Alaska
        1031 W 4th Ave, Ste 200
        Anchorage, AK 99501

     3. Steve Marshall
        Attorney General's Office, State of Alabama
        501 Washington Ave
        Montgomery, AL 36104

     4. Tim Griffin
        Office of the Attorney General, State of Arkansas
        323 Center St, Ste 200
        Little Rock, AR 72201-2610

     5. Kris Mayes
        Office of the Attorney General, State of Arizona
        2005 N Central Ave
        Phoenix, AZ 85004-2926

     6. CAFA Coordinator
        Office of the Attorney General, State of California
        Consumer Protection Section
        455 Golden Gate Ave., Ste 11000
        San Francisco, CA 94102-7004
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      7. Phil Weiser
         Office of the Attorney General, State of Colorado
         Ralph L. Carr Judicial Building
         1300 Broadway, 10th Fl
         Denver, CO 80203

      8. William Tong
         Office of the Attorney General, State of Connecticut
         165 Capitol Ave
         Hartford, CT 06106

      9. Brian Schwalb
         Office of the Attorney General, District of Columbia
         400 6th St NW
         Washington, DC 20001

      10. Kathy Jennings
          Delaware Department of Justice, State of Delaware
          Carvel State Office Building
          820 N French Street
          Wilmington, DE 19801-3520

      11. Ashley Moody
          Office of the Attorney General, State of Florida
          PL‐01 The Capitol
          Tallahassee, FL 32399-1050

      12. Chris Carr
          Office of the Attorney General, State of Georgia
          40 Capitol Sq SW
          Atlanta, GA 30334-1300

      13. Anne E. Lopez
          Department of the Attorney General, State of Hawaii
          425 Queen Street
          Honolulu, HI 96813-2903
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      14. Brenna Bird
          Office of the Attorney General, State of Iowa
          Hoover State Office Building
          1305 E. Walnut Street Rm 109
          Des Moines, IA 50319-0109

      15. Raúl R. Labrador
          Office of the Attorney General, State of Idaho
          700 W. Jefferson St, Suite 210
          Boise, ID 83720

      16. Kwame Raoul
          Office of the Attorney General
          James R. Thompson Center
          100 W. Randolph St
          Chicago, IL 60601

      17. Ginger Ostro, Executive Director
          Illinois Board of Higher Education
          1 North Old State Capitol Plz, Ste 333
          Springfield, IL 62701-1377

      18. Todd Rokita
          Office of the Attorney General, State of Indiana
          Indiana Government Center South
          302 W Washington St 5th Fl
          Indianapolis, IN 46204

      19. Kris W. Kobach
          Office of the Attorney General, State of Kansas
          120 SW 10th Ave, 2nd Fl
          Topeka, KS 66612-1597

      20. Daniel Cameron
          Office of the Attorney General, Commonwealth of Kentucky
          Capitol Building
          700 Capitol Ave Ste 118
          Frankfort, KY 40601-3449
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      21. Jeff Landry
          Office of the Attorney General, State of Louisiana
          1885 N. Third St
          Baton Rouge, LA 70802

      22. CAFA Coordinator
          General Counsel's Office
          Office of Attorney General, Commonwealth of Massachusetts
          One Ashburton Pl, 20th Fl
          Boston, MA 02108

      23. Anthony G. Brown
          Office of the Attorney General, State of Maryland
          200 St. Paul Pl
          Baltimore, MD 21202

      24. Aaron Frey
          Office of the Attorney General, State of Maine
          6 State House Station
          Augusta, ME 04333-0006

      25. Dana Nessel
          Department of Attorney General, State of Michigan
          G. Mennen Williams Building, 7th Fl
          525 W Ottawa St
          Lansing, MI 48933-1067

      26. Keith Ellison
          Office of the Attorney General, State of Minnesota
          445 Minnesota St, Suite 1400
          St. Paul, MN 55101-2131

      27. Andrew Bailey
          Attorney General's Office, State of Missouri
          Supreme Court Building
          207 W High St
          Jefferson City, MO 65101-1516
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      28. Lynn Fitch
          Office of the Attorney General, State of Mississippi
          Walter Sillers Building
          550 High St Ste 1200
          Jackson, MS 39201

      29. Austin Knudsen
          Office of the Attorney General, State of Montana
          Justice Building, Third Fl
          215 N. Sanders
          Helena, MT 59601-4517

      30. Josh Stein
          Attorney General's Office, State of North Carolina
          114 W Edenton St
          Raleigh, NC 27603

      31. Drew H . Wrigley
          Office of the Attorney General, State of North Dakota
          State Capitol, 600 E Boulevard Ave
          Dept. 125
          Bismarck, ND 58505

      32. Mike Hilgers
          Attorney General's Office, State of Nebraska
          2115 State Capitol
          Lincoln, NE 68509

      33. John Formella
          Office of the Attorney General, State of New Hampshire
          NH Department of Justice
          33 Capitol St.
          Concord, NH 03301

      34. Matthew J. Platkin
          Office of the Attorney General, State of New Jersey
          Richard J. Hughes Justice Complex
          25 Market St 8th Fl, West Wing
          Trenton, NJ 08611
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      35. Raúl Torrez, State of New Mexico
          Office of the Attorney General
          Villagra Building
          408 Galisteo Street
          Santa Fe, NM 87501

      36. Aaron Ford
          Office of the Attorney General, State of Nevada
          Old Supreme Court Building
          100 N Carson St
          Carson City, NV 89701-4717

      37. CAFA Coordinator
          Office of the Attorney General, State of New York
          28 Liberty St, 15th Fl
          New York, NY 10005

      38. Dave Yost
          Attorney General's Office, State of Ohio
          State Office Tower
          30 E Broad St 14th Fl
          Columbus, OH 43215-3414

      39. Gentner Drummond
          Office of the Attorney General, State of Oklahoma
          313 NE 21st St
          Oklahoma City, OK 73105-3207

      40. Ellen F. Rosenblum
          Oregon Department of Justice
          Justice Building
          1162 Court St NE
          Salem, OR 97301-4096

      41. Michelle Henry
          Office of the Attorney General, Commonwealth of Pennsylvania
          Strawberry Square 16th Fl
          Harrisburg, PA 17120
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      42. Peter F. Neronha
          Office of the Attorney General, State of Rhode Island
          150 S Main St
          Providence, RI 02903-2907

      43. Alan Wilson
          Office of the Attorney General, State of South Carolina
          Rembert C. Dennis Bldg
          1000 Assembly St Rm 519
          Columbia, SC 29201

      44. Marty Jackley
          Office of the Attorney General, State of South Dakota
          1302 E Highway 14, Ste 1
          Pierre, SD 57501-8501

      45. Jonathan Skrmetti
          Office of the Attorney General, State of Tennessee
          500 Dr Martin L King Jr Blvd
          Nashville, TN 37219

      46. Angela Colmenero
          Office of the Attorney General, State of Texas
          300 W. 15th St
          Austin, TX 78701

      47. Sean D. Reyes
          Office of the Attorney General, State of Utah
          Utah State Capitol Complex
          350 North State St Ste 230
          Salt Lake City, UT 84114

      48. Jason S. Miyares
          Office of the Attorney General, Commonwealth of Virginia
          202 N. Ninth St.
          Richmond, VA 23219
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      49. Charity R. Clark
          Attorney General's Office, State of Vermont
          109 State St.
          Montpelier, VT 05609-1001

      50. Bob Ferguson
          Office of the Attorney General, State of Washington
          1125 Washington St SE
          Olympia, WA 98501-2283

      51. Josh Kaul
          Attorney General's Office, State of Wisconsin
          P.O. Box 7857
          Madison, WI 53707-7857

      52. Patrick Morrisey
          Office of The Attorney General, State of West Virginia
          State Capitol, 1900 Kanawha Blvd E
          Building 1 Rm E-26
          Charleston, WV 25305-0029

      53. Bridget Hill
          Office of the Attorney General, State of Wyoming
          109 State Capitol
          200 W 24th St, Rm W109
          Cheyenne, WY 82002-3642

      54. Fainu'ulelei Falefatu Ala’ilima-Utu
          Office of the Attorney General, American Samoa
          Department of Legal Affairs
          Exec Ofc Bldg, 3rd Fl
          P.O. Box 7
          Utulei, AS 96799

      55. Douglas B. Moylan
          Office of the Attorney General of Guam
          Administration Division
          590 S Marine Corps Dr, Suite 901
          Tamuning, GU 96913-3537
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      56. Edward Manibusan
          Office of the Attorney General, Commonwealth of the Northern Mariana Islands
          Administration Building
          P.O. Box 10007
          Saipan, MP 96950-8907

      57. Domingo Emanuelli Hernández
          Dpto. de Justicia de Puerto Rico
          Calle Teniente César González 677
          Esq. Ave. Jesús T. Piñero
          San Juan, PR 00918

      58. Ariel Smith
          Office of the Attorney General of the U.S. Virgin Islands
          3438 Kronprindsens Gade
          GERS Building 2nd Fl
          St. Thomas, VI 00802-5749
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                                         Exhibit B

                                 INDEX OF EXHIBITS


                                                                 No. 1:22-cv-125
           Ex. No.                    Document                   N.D. Ill. Dkt. #


                 1.     Class Action Complaint                          1


                 2.     Amended Class Action Complaint                 106


                        Second Amended and Supplemental
                 3.                                                    308
                        Class Action Complaint

                        Plaintiffs’ Unopposed Motion for
                        Preliminary Approval of Settlement,
                        Provisional Certification of Proposed
                 4.     Settlement Class, Approval of Notice           428
                        Plan, and Approval of the Proposed
                        Schedule for Completing the Settlement
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